    Case 2:07-md-01873-KDE-MBN Document 14434 Filed 06/18/10 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA
                                NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                                       MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                              SECTION “N-5"

                                                          JUDGE ENGELHARDT
                                                          MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Stewart, et al. v. Alliance Homes, Inc., et al.,
EDLA Case No. 09- 6712

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            SUPPLEMENTAL EXHIBIT “A” TO PLAINTIFFS’ COMPLAINT
                   PURSUANT TO PRETRIAL ORDER NO. 53

       In compliance with Pretrial order 53 (Rec. Doc. 9073), plaintiffs hereby file their

Supplemental Exhibit “A” to their Complaint to match the plaintiffs to their correct

Manufacturer Defendants and Contractor/Installer Defendants.


       In addition to the information previously submitted, plaintiffs attach hereto a

Supplemental Exhibit “A” and incorporate same by reference herein.


                                                   Respectfully submitted:

                                                   GAINSBURGH, BENJAMIN, DAVID,
                                                   MEUNIER & WARSHAUER, L.L.C.

                                                   BY:    _s/Justin Woods
                                                          GERALD E. MEUNIER, #9471
                                                          JUSTIN I. WOODS, #24713
                                                          2800 Energy Centre
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                                                          jwoods@gainsben.com
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                                          CERTIFICATE OF SERVICE

         I hereby certify that on June 18, 2010, I electronically filed the foregoing with the Clerk of Court by using

the CM/ECF system which will send a notice of electronic filing to all counsel of record who are CM/ECF

participants. I further certify that I mailed the foregoing document and the notice of electronic filing by first-class

mail to all counsel of record who are non-CM/ECF participants.

                                                      s/Gerald E. Meunier
                                                      GERALD E. MEUNIER, #9471
    Case 2:07-md-01873-KDE-MBN Document 14434 Filed 06/18/10 Page 3 of 3




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                                 SUPPLEMENTAL EXHIBIT A


Melissa Stewart -              Gulf Stream Coach, Inc.; Fluor Enterprises, Inc.

Cheryl Thomas -                After due diligence, manufacturer and contractor unknown

Toni Ransom on behalf of Judith Ransom - Fleetwood Enterprises, Inc.; Fluor Enterprises, Inc.

Jeanette Shepherd -            Gulf Stream Coach, Inc.; Fluor Enterprises, Inc.
